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       EXHIBIT F
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From:               Beth Littrell
To:                 mjr@randazza.com; jmw@randazza.com
Cc:                 dales@mt.gov; jonbennion@mt.gov; mcochenour2@mt.gov; David Dinielli; Jim Knoepp; Maya Rajaratnam
Subject:            Gersh v. Anglin: Follow-up to Meet and Confer Discussion
Date:               Friday, February 8, 2019 4:52:52 PM




Counsel:

Pursuant to our meet and confer discussion on January 25, which was responsive to your
letter dated January 22, 2018, counsel has discussed the concerns you expressed in the
meeting. We will be timely supplementing our discovery in accordance with those discussions.

Respectfully,

Beth Littrell

Senior Attorney

Southern Poverty Law Center

Atlanta Office

404-221-5876

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